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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION

UNITED STATES OF AMERICA,             )
                                      )
v.                                    )      INDICTMENT NUMBER:
                                      )         5:21-CR-9-20
BRETT DONAVAN BUSSEY,                 )
                                      )
        Defendant.                    )

                UNOPPOSED MOTION FOR CONTINUANCE
                            OF TRIAL

        Brett D. Bussey, defendant herein, files his Unopposed Motion For

Continuance of Trial pursuant to this Court’s Criminal Trial Management Order, doc

# 166 at 2, and shows this Court the following:

         I. Relevant Procedural History.

        On October 5, 2021, Defendant Brett D. Bussey, along with 23 others, were

indicted and charged with multiple counts of Conspiracy to Commit Mail Fraud, in

violation of 18 U.S.C. § 1349, Mail Fraud, in violation of 18 U.S.C. § 1341,

Conspiracy to Engage in Forced Labor, in violation of 18 U.S.C. § 1589, and

Conspiracy to Commit Money Laundering, in violation of 18 U.S.C. § 1956(h). Mr.

Bussey was also charged with Tampering with a Witness, in violation of 18 U.S.C.

§ 1512. Doc # 3.

        After a bond hearing on December 1, 2021, Mr. Bussey was released on a

$50,000 bond secured by a 3rd party security, along with conditions. Doc # 167.
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      On July 13, 2023, Mr. Bussey filed the following pretrial motions:

         1. Motion to Dismiss Mail Fraud Counts, doc # 631,

         2. Motion to Dismiss Money Laundering Count, doc # 632,

         3. Motion for Bill of Particulars, doc # 633,

         4. Motion to Suppress Microsoft, doc # 637,

         5. Motion for Severance, doc # 639, and

         6. Motion for Return of Seized Property – Suntrust, doc # 640.

      On July 18, 2024, Mr. Bussey moved to Suppress Wiretap Search Warrant.

Doc # 651. And, on August 14, 2023, Mr. Bussey moved to Suppress Residence

Search Warrant. Doc # 694.

      The government filed responses to those motions. Doc # 884, 885, 886, 887,

888, 889, 890, & 933, and Mr. Bussey filed timely replies. Doc # 935, 936, 937, 938,

939, 940, 941, & 942.

      A hearing was held on Mr. Bussey’s motions on April 19, 2024. Doc # 988.

      A Superseding Indictment was returned on June 25, 2024. Doc # 1012.

      The Magistrate issued Reports and Recommendations on the pending

motions. See, Doc # 1180, doc # 1202, doc # 1218, and doc # 1251. Following timely

Objections to the Reports and Recommendations this Court overruled those

Objections. See, Doc # 1204, doc # 1269, and doc # 1274.




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      As reflected in the docket of this Court, Mr. Bussey has long struggled with

issues of alcohol abuse. Doc # 651, p. 9, 12, 14, doc # 1133, p. 83, doc # 1231, p.

17, 21.

      On February 20, 2025, this Court modified Mr. Bussey’s conditions of release

and Ordered substance abuse testing, and treatment. Doc # 1229.

      On May 5, 2025, this Court entered a Criminal Trial Management Order

directing that Motions in Limine are to be filed on or before Monday, June 9, 2025,

with responses due on Monday, June 23, 2025. Doc # 1266, at 2. The Pretrial

Conference is set for July 11, 2025, and Jury Selection and Trial is set for July 28,

2025. Id. at 1.

      On May 19, 2025, U.S. Probation filed a Memorandum to inform the Court

that on April 16, 2025, Mr. Bussey admitted himself into Georgia Recovery Campus,

LLC in Reynolds, Georgia related to his issues with alcoholism. Doc # 1275. Mr.

Bussey was successfully discharged from Georgia Recovery’s initial program and

entered Valor Behavioral Health in Atlanta for a 90-day treatment program. Id. This

Court permitted Mr. Bussey’s travel to the Northern District of Georgia and his

treatment at Valor. Id. at 2.

      Mr. Bussey’s alcoholism has impeded his ability to assist his counsel in the

defense of his case.




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       II. Argument and Citation of Authority.

      In this Court’s Criminal Trial Management Order, doc # 166, at 2, this Court

directed that Motions to Continue will only be granted upon a showing of good

cause. This Court also directed that before filing any motion to continue that the

requesting party must consult opposing counsel to determine whether the party

agrees with or opposes the request. Counsel has therefore consulted government

counsel who indicates that they have no opposition to this Motion for Continuance,

but they request that all defendants be kept on the same trial schedule.

      Counsel for Mr. Bussey has called Valor Behavioral Health in an effort to

consult Mr. Bussey to comply with the Criminal Trial Management Order but has

been unable to speak with Mr. Bussey at the time of this filing. Counsel will

supplement this Motion upon consulting Mr. Bussey.

      Counsel has also consulted counsel for the remaining defendants, each of

whom has stated that they have no objection to the requested continuance:

Defendant                        Defense Counsel

Nery Carrillo                    Dave Stewart

Enrique Duque Tovar              Daniel O’Conner

Jose Duque Tovar                 George Barnhill

Delia Rojas                      Katie Brewington

Juana Carrillo                   Joey Turner

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Margarita Rojas Cardenas          Brian McEvoy and Ryan Mayo

Carla Salinas                     Dennis O’Brien

      III. The Speedy Trial Act.

      The ends of justice served by permitting this continuance of the trial setting,

outweigh the best interest of the public and the defendants in a speedy trial as

contemplated by 18 U.S.C. § 3161(h)(7)(A), in that it will permit Mr. Bussey

sufficient time to complete his treatment program, and to help his counsel prepare

for trial in this complex case.

      WHEREFORE, Mr. Bussey respectfully requests that his Unopposed Motion

for Continuance of Trial be granted.

      Respectfully submitted, this the 23rd day of May, 2025.

                                  WITHERS LAW FIRM PC

                                  /s/ Thomas A. Withers, Esq.
                                  Thomas A. Withers, Esq.
                                  Georgia Bar Number: 772250
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                          CERTIFICATE OF SERVICE

      The undersigned certifies that I have on this day served all the parties in this

case in accordance with the notice of electronic filing (“NEF”) which was

generated as a result of electronic filing in this court.

      This the 23rd day of May, 2025.

                                  WITHERS LAW FIRM PC

                                  /s/ Thomas A. Withers, Esq.
                                  Thomas A. Withers, Esq.
                                  Georgia Bar Number: 772250
                                  Attorney for Defendant Brett Donovan Bussey


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